Case 1:21-cv-02027-KLM Document 39 Filed 04/04/22 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02027-KLM

JOHN MEGGS,

       Plaintiff,

v.

PECOS STREET LLC, and
LEEVERS SUPERMARKETS, INC.,

     Defendants.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

       This matter is before the Court on the Joint Stipulation of Dismissal With
Prejudice [#38] (“Stipulation”). Fed. R. Civ. P. 41(a)(1)(A)(ii) provides that a plaintiff may
voluntarily dismiss an action “without a court order by filing: . . . a stipulation of dismissal
signed by all parties who have appeared.”

       Because the Stipulation [#38] is signed by counsel for all parties of record,

       IT IS HEREBY ORDERED that this case is DISMISSED WITH PREJUDICE
pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), each party to bear its own attorney’s fees and
costs except as indicated in the settlement agreement. The Clerk of Court shall close this
case.

       Dated: April 4, 2022
